JS 45 (5/97) - (Revised AD.€; MA395/40D12-DPW Do QiNBANASED Filed 08/16/12 Page 1 of 14

 

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. l Investigating Agency FBI
City Boston Related Case Information:
County Suffolk Superseding Ind./ Inf. Yes Case No. _11-10212-JLT
Same Defendant Yes New Defendant
Magistrate Judge Case Number JCB - various
Search Warrant Case Number
R 20/R 40 from District of

 

Defendant Information:

 

 

 

 

 

Defendant Name Michael Clemente Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name Ricky Martin
Address (City & State) Sunrise, FL
Birth date (Yr only): 1979 SSN (last4#): 2058 Sex M Race: Hispanic Nationality:
Defense Counsel if known: James J. Cipoletta Address 385 Broadway
Bar Number Suite 307

 

 

U.S. Attorney Information: Revere, MA 02151

Ausa _limothy E. Moran/Richard L. Hoffman Bar Number if applicable

 

 

 

Interpreter: [| Yes No List language and/or dialect:
Victims: [ ]Yes [¥]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [| No
Matter to be SEALED: [] Yes No

[Warrant Requested [| Regular Process [| In Custody

Location Status:

 

 

 

 

 

Arrest Date May 27, 2011
[_]Already in Federal Custody as of in
[_ ]already in State Custody at [ |Serving Sentence [Awaiting Trial
[Yon Pretrial Release: | Ordered by: USMJ Jennifer C. Boal on 6/14/2011
Charging Document: [| Complaint [information Indictment

2
Total # of Counts: [Petty eens [__|Misdemeanor —_—— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proce
accurately set forth above.

ings before a Magistrate Judge are

     

Date; August 22, 2012 Signature of AUSA:
Case 1:11-cr-10212-DPW Document 291-1 Filed 08/16/12 Page 2 of 14
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant Michael Clemente

 

Index Key/Code

U.S.C, Citations
Description of Offense Charged Count Numbers

 

 

Set] 21 U-S.C. §846 Conspiracy to Distribute Oxycodone _—‘1-SS
ser 18 USC: $1986 (h) Money Laundering Conspiracy 2-SS
set 3 21 U.S.C. §853 Drug Trafficking Forfeiture

e

 

gerg 18 U-S.C. §982 (a)(1)

Money Laundering Forfeiture

 

18 U.S.C. §2
Set 5

Aiding and Abetting

 

Set 6

 

Set 7

 

Set 8

 

Set 9

 

Set 10

 

Set 11

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:

 

 

 

 

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JS 45 (5/97) - (Revisd ASD.C..MA 305/400212-DPW Do QWEANASED Filed 08/16/12 Page 3 of 14

 

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. I Investigating Agency FBI
City Boston Related Case Information:
County Suffolk Superseding Ind./ Inf. Yes CaseNo, _11-cr-1021 2-JLT
Same Defendant No New Defendant _ Yes
Magistrate Judge Case Number JCB - various
Search Warrant Case Number
R 20/R 40 from District of

 

Defendant Information:

 

 

 

 

 

Defendant Name Colby Deering Juvenile: [|] Yes No

Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address (City & State) Quincy, MA
Birth date (Yr only); 1972 sgn (lasta#):2496 sex M Race; White Nationality:
Defense Counsel if known: John F. Palmer, Esq. Address Seven Faneuil Hall Marketplace
Bar Number North Building, 3rd Floor

 

 

U.S. Attorney Information: Boston, MA 02109

AusA _limothy E. Moran/Richard L. Hoffman Bar Number if applicable

 

 

 

Interpreter: [| Yes No List language and/or dialect:
Victims: | lYes [¥]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [ ] Yes [| No
Matter to be SEALED: [] ves No

[Warrant Requested [| Regular Process [| In Custody

Location Status:

 

 

 

 

 

 

[ ]Already in Federal Custody as of in

[| Already in State Custody at [_|Serving Sentence [Awaiting Trial
[Ylon Pretrial Release: | Ordered by: USMJ Boal on August 21, 2012
Charging Document: | |complaint | ]Information Indictment

Total # of Counts: [Petty rn [-|Misdemeanor __ Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedjngs before a Magistrate Judge are
accurately set forth above. ?

Date: August 22, 2012 Signature of AUSA:

 
Case 1:11-cr-10212-DPW Document 291-1 Filed 08/16/12 Page 4 of 14
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant Colby Deering

Index Key/Code
set) 21 U.S.C. §846

U.S.C, Citations

Description of Offense Charged Count Numbers
Conspiracy to Distribute Oxycodone 1-SS

 

sey 18 U-S.C. §1956(h)

Money Laundering Conspiracy 2-SS

 

21 U.S.C. §853
Set 3

Drug Forfeiture Allegation

 

srg 18 U-S.C. §982(a)(1)

Money Laundering Forfeiture Allegation

 

18 U.S.C. §2

Set 5

Aiding and Abetting

 

Set 6

 

Set 7

 

 

Set 8

 

 

Set 9

 

 

Set 10

 

 

Set 11

 

 

Set 12

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL INFORMATION:

 

 

 

 

 

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Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. I Investigating Agency FBI
City Boston Related Case Information:
County Suffolk Superseding Ind./ Inf. Yes Case No, _11-0r-10212-JLT
Same Defendant No New Defendant _ Yes
Magistrate Judge Case Number JCB - various
Search Warrant Case Number
R 20/R 40 from District of

 

Defendant Information:

 

 

 

 

 

Defendant Name Anh Nguyen Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address (City & State) Dorchester, MA |
Birth date (Yr only): 1985 SSN (last4#): 2192 Sex F Race: Asian Nationality:
Defense Counsel if known: Raymond E. Gillespie, Esq. Address Suite 32
Bar Number 875 Massachusetts Avenue

 

 

U.S. Attorney Information: Cambridge, MA 02139-3067

Ausa __|imothy E. Moran/Richard L. Hoffman Bar Number if applicable

 

 

 

Interpreter: [| Yes No List language and/or dialect:
Victims: | lYes [¥]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [| No
Matter to be SEALED: [] Yes No

[Warrant Requested [| Regular Process [] In Custody

Location Status:

 

 

 

 

 

 

[Already in Federal Custody as of in

[Already in State Custody at [_ |Serving Sentence [Awaiting Trial
[Yon Pretrial Release: | Ordered by: USM Boal on August 21, 2012
Charging Document: [ |Complaint [__]Information Indictment

Total # of Counts: [Petty nme [_]Misdemeanor nr Felony

Continue on Page 2 for Entry of U.S.C. Citations

accurately set forth above.

I hereby certify that the case numbers of any prior proceedings before Die are
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Date; August 22, 2012 Signature of AUSA: Mgt

 

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Case 1:11-cr-10212-DPW Document 291-1 Filed 08/16/12 Page 6 of 14
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):
Anh Nguyen

Name of Defendant

Set 1

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

 

 

U.S.C, Citations

 

 

Index Key/Code Description of Offense Charged Count Numbers
21 U.S.C. §846 Conspiracy to Distribute Oxycodone 1-SS
18 U.S.C. §1956(h) Money Laundering Conspiracy 2-SS
18 U.S.C. §1512(b)(3) = Tampering with a Witness 3-SS

 

18 U.S.C. §2

Aiding and Abetting

 

18 U.S.C. §982(a)(1)

Money Laundering Forfeiture Allegation

 

18 U.S.C. § 981(a)(1)(C)

Witness Tampering Proceeds Forfeiture Allegation

 

21 U.S.C. §853

Drug Forfeiture Allegation

 

 

 

 

 

 

 

 

 

ADDITIONAL INFORMATION:

 

 

 

 

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JS 45 (5/97) - Revs SD.C:MA-295/400D12-DPW Dog\INERINIIIED Filed 08/16/12 Page 7 of 14

 

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. l Investigating Agency FBI
City Boston Related Case Information:
County Suffolk Superseding Ind./ Inf. Yes CaseNo, _11-10212-JLT
Same Defendant Yes New Defendant
Magistrate Judge Case Number JCB - various
Search Warrant Case Number
R 20/R 40 from District of

 

Defendant Information:

 

 

 

 

 

Defendant Name Mark Thompson Juvenile: [] Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address (City & State) Davie, FL
Birth date (Yr only): 1982, SSN (last4#): 9064 Sex M Race: Black Nationality:
Defense Counsel if known: Samuel B. Goldberg Address 689 Massachusetts Avenue
Bar Number | Cambridge,MA 02139

 

 

U.S. Attorney Information:

Ausa __limothy E. Moran/Richard L. Hoffman Bar Number if applicable

 

 

Interpreter: [| Yes No List language and/or dialect:

 

Victims: [_ lves No Ifyes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [| No

Matter to be SEALED: [| Yes No

[ }Warrant Requested [| Regular Process [| In Custody

Location Status:

 

 

 

 

 

 

Arrest Date May 27, 2011

[_ ]Already in Federal Custody as of in

[Already in State Custody at | |Serving Sentence [Awaiting Trial
[Von Pretrial Release: Ordered by: USMJ Jennifer C. Boal on June 14, 2011
Charging Document: [|complaint [| Information Indictment

Total # of Counts: [_ ]Petty cnet [Misdemeanor -_- Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedi “, before a Magistrat Judge are

accurately set forth above.
Date; August 22, 2012 Signature of AUSA:

 
Case 1:11-cr-10212-DPW Document 291-1 Filed 08/16/12 Page 8 of 14
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant Mark Thompson

 

Index Key/Code

Set 1 21 U.S.C. §846

U.S.C. Citations
Description of Offense Charged
Conspiracy to Distribute Oxycodone

Count Numbers

1-SS

 

erg 18.U-S.C. §1956(h)

Money Laundering Conspiracy

2-SS

 

21 U.S.C. §853
Set 3

Drug Trafficking Forfeiture

 

cerg 18 U-S.C. §982(a)(1)

Money Laundering Forfeiture

 

18 U.S.C. §2

Set 5

Aiding and Abetting

 

Set 6

 

Set 7

 

Set 8

 

Set 9

 

Set 10

 

Set 11

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:

 

 

 

 

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JS 45 (5/97) - (Revis@ HSO-G-MA 365200212-DPW DOiINKBINESEY) Filed 08/16/12 Page 9 of 14

 

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. l Investigating Agency FBI
City Boston Related Case Information:
County Suffolk Superseding Ind./ Inf. Yes Case No. 11-10212-JLT
Same Defendant Yes New Defendant
Magistrate Judge Case Number JCB - Various
Search Warrant Case Number
R 20/R 40 from District of

 

Defendant Information:

 

 

 

 

 

Defendant Name Brant Welty Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address (City & State) Boston, MA
Birth date (Yr only): ‘2’ sgn (lasta#): 7898 sex Ms Race; White Nationality:
Defense Counsel if known: Kevin L. Barron Address 92 State Street, 6th Floor
Bar Number Boston, MA 02109

 

 

U.S. Attorney Information:

AusaA __limothy E. Moran/Richard L. Hoffman Bar Number if applicable

 

 

 

Interpreter: [| Yes No List language and/or dialect:
Victims: [ ]Yes [Y]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [| No
Matter to be SEALED: [| ves No

{ ]Warrant Requested [| Regular Process [| In Custody

Location Status:

 

 

 

 

 

 

Arrest Date May 27, 2011
[ ]Already in Federal Custody as of in
[Already in State Custody at [ |Serving Sentence [Awaiting Trial
[Ylon Pretrial Release: | Ordered by: USMJ Jennifer C. Boal on 8/19/11
Charging Document: [- |complaint [_|Information Indictment

2
Total # of Counts: [Petty een [_|Misdemeanor -_oo Felony

Continue on Page 2 for Entry of U.S.C. Citations

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accurately set forth above.

Date; August 22, 2012 Signature of AUSA: Ar~

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Case 1:11-cr-10212-DPW Document 291-1 Filed 08/16/12 Page 10 of 14
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):
Name of Defendant Brant Welty

Index Key/Code
Set 1 21 U.S.C. §846

erg 18. U.S.C. §1956(h)

 

U.S.C. Citations

Description of Offense Charged
Conspiracy to Distribute Oxycodone

Money Laundering Conspiracy

Count Numbers
1-SS

2-SS

 

21 U.S.C. §853
Set 3

Drug Trafficking Forfeiture

 

cerg 18 U-S.C. §982(a)(1)

 

Money Laundering Forfeiture

 

18 U.S.C. §2

Set 5

 

Aiding and Abetting

 

Set 6

 

 

Set 7

 

Set 8

 

 

Set 9

 

 

Set 10

 

 

Set 11

 

 

Set 12

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL INFORMATION:

 

 

 

 

 

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Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. H Investigating Agency FBI
City Boston Related Case Information:
County Suffolk Superseding Ind./ Inf. Yes Case No. 11-10212-JLT
Same Defendant Yes New Defendant
Magistrate Judge Case Number JCB - various
Search Warrant Case Number
R 20/R 40 from District of

 

Defendant Information:

 

 

 

 

 

Defendant Name Bridget Welty Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address (City & State) Boston, MA
Birth date (Yr only): 1973 SSN (last4#): 9894 Sex Fi Race: White Nationality:
Defense Counsel if known: Mark D.Smith Address 101 Federal Street
Bar Number Suite 650

 

 

U.S. Attorney Information: Boston,MA 02110

Ausa _limothy E. Moran/Richard L. Hoffman

 

 

 

 

 

 

 

 

 

Bar Number if applicable

Interpreter: [| Yes No List language and/or dialect:
Victims: [ ]ves No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [| No
Matter to be SEALED: [| Yes No

[ ]Warrant Requested [| Regular Process [| in Custody
Location Status:
Arrest Date May 27, 2011
[Already in Federal Custody as of in
[_]Atready in State Custody at [Serving Sentence [Awaiting Trial
[Von Pretrial Release: | Ordered by: USMJ Jennifer C. Boal on 6/2/2011
Charging Document: [| Complaint [_|information Indictment
Total # of Counts: [_ |Petty —_av—a—[—™ [_|Misdemeanor me [| Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above. / /
Date; August 22, 2012 Signature of AUSA: | As Eyl
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Case 1:11-cr-10212-DPW Document 291-1 Filed 08/16/12 Page 12 of 14
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant Bridget Welty

U.S.C. Citations

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Index Key/Code Description of Offense Charged Count Numbers
get] 21 U.S.C. §846 Conspiracy to Distribute Oxycodone __1-SS
set. 18 U-8-C- §1956(h) Money Laundering Conspiracy 2-SS
serz 21 USC. 8853 Drug Trafficking Forfeiture
seq 18 U-S.C. §982 (a)(1) | Money Laundering Forfeiture
sets 18 U.S.C. §2 Aiding and Abetting
Set 6
Set 7
Set 8
Set 9
Set 10
Set 11
Set 12
Set 13
Set 14
Set 15

 

 

ADDITIONAL INFORMATION:

 

 

 

 

 

cr js-45-MA201 1 .wpd - 3/25/2011
IS 45 (5/97) - (Revie GGBDIC-MA BPSLO0 2-DPW DocAMN@RINBED Filed 08/16/12 Page 13 of 14

 

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. l Investigating Agency FBI
City Boston Related Case Information:
County Suffolk Superseding Ind./ Inf. Yes Case No, _11-10212-JLT
Same Defendant Yes New Defendant
Magistrate Judge Case Number JCB - various
Search Warrant Case Number
R 20/R 40 from District of

 

Defendant Information:

 

 

 

 

 

Defendant Name John Willis Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name Bac Guai John
Address . (City & State) Malden, MA
Birth date (Yr only): 41971 SSN (last4#): 3485 Sex Mi Race: White Nationality:
Defense Counsel if known: R. Bradford Bailey Address 4 Longfellow Place
Bar Number Suite 3501, 35fh Floor

 

 

U.S. Attorney Information: Boston, MA 02114

Ausa Timothy E. Moran/Richard L. Hoffman Bar Number if applicable

 

 

 

Interpreter: [| Yes No List language and/or dialect:
Victims: [ lves No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [J Yes [ | No
Matter to be SEALED: [| Yes No

{Warrant Requested [| Regular Process In Custody

Location Status:

 

 

 

 

 

 

Arrest Date May 27, 2011

[V ] Already in Federal Custody as of 9/27/2011 in

[" Already in State Custody at | |Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [| Complaint [ ] Information Indictment

Total # of Counts: [_]Petty ne [ |Misdemeanor -_ Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above. f

Date: August 22, 2012 Signature of AUSA:

 

 

 
Case 1:11-cr-10212-DPW Document 291-1 Filed 08/16/12 Page 14 of 14
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):
Name of Defendant John Willis

 

U.S.C, Citations

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Index Key/Code Description of Offense Charged Count Numbers
set) 21 USC. §846 Conspiracy to Distribute Oxycodone _—1-SS
ser. USO: S1986(n) Money Laundering Conspiracy 2-SS
set3 21 U-S-C- $858 Drug Trafficking Forfeiture
seg 18 U.S.C. §982(a)(1) | Money Laundering Forfeiture
ses 10 U-S.C. §2 Aiding and Abetting
Set 6
Set 7
Set 8
Set 9
Set 10
Set 11
Set 12
Set 13
Set 14
Set 15

 

 

ADDITIONAL INFORMATION:

 

 

 

 

 

cr js-45-MA201 | .wpd - 3/25/2011
